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                     IN THE UNITED STATES DISTRICT COURT FOR
                     THE DISTRICT OF THE DISTRICT OF COLUMBIA

____________________________________
                                    )
UNITED STATES,                      )
                                    )
      v.                            )                 Crim. No. 21cr134
                                    )                 Hon. Carl J. Nichols
MARK SAHADY                         )
      Defendant.                    )
____________________________________)

                                              ORDER

       Upon consideration of Defendant Mark Sahady’s Motion to Adopt, Conform and

Supplement David Lee Judd’s Motion before this Court to Compel Discovery in Support of Mr.

Judd’s Claim of Selective Prosecution (United States v. McCaughey, et al., DDC Case No.

1:21cr40, ECF No. 138), it is hereby ORDERED that the motion is GRANTED, and it is further

       ORDERED that Defendant Sahady is deemed to have adopted, conformed and shall

enjoy the benefits of the aforesaid motion. It is further

       ORDERED that Defendant Sahady may conform his case and particular circumstances to

the aforesaid motion.



Date: _____________________                           __________________________________
                                                      HON. CARL J> NICHOLS
                                                      United States District Judge




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